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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION



DAVE GRANT,                                  )      MOTION TO VACATE
                                             )      28 U.S.C. § 2255
              Petitioner,                    )
                                             )      CRIMINAL ACTION FILE
v.                                           )      NUMBER 1:10-cr-521-10-TCB
                                             )
UNITED STATES OF AMERICA,                    )      CIVIL ACTION FILE
                                             )      NUNMBER 1:13-cv-586-TCB
              Respondent.                    )



                                      ORDER

       This case is currently before the Court on Magistrate Judge Alan J.

Baverman’s Report and Recommendation [849]. No objections to the R&R

have been filed.

       A district judge has a duty to conduct a “careful and complete” review

of a magistrate judge’s R&R. Williams v. Wainwright, 681 F.2d 732, 732

(11th Cir. 1982) (quoting Nettles v. Wainwright, 677 F.2d 404, 408 (5th

Cir. 1982) (en banc)) (internal quotation mark omitted).1 This review may


       1 The Eleventh Circuit has adopted as binding precedent all Fifth Circuit decisions

issued before October 1, 1981. Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th
Cir. 1981) (en banc). Additionally, all decisions issued after that date “by a non-unit
panel of the Former Fifth, the full en banc court of the Former Fifth, or Unit B panel of
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take different forms, however, depending on whether there are objections

to the R&R. The district judge must “make a de novo determination of

those portions of the [R&R] to which objection is made.”

28 U.S.C. § 636(b)(1)(C). In contrast, those portions of the R&R to which

no objection is made need only be reviewed for clear error. Macort v.

Prem, Inc., 208 F. App’x 781, 784 (11th Cir. 2006).2

       After conducting a complete and careful review of the R&R, the

district judge may accept, reject or modify the magistrate judge’s findings

and recommendations. 28 U.S.C. § 636(b)(1)(C); Williams, 681 F.2d at

732. The district judge may also receive further evidence or recommit the

matter to the magistrate judge with instructions. 28 U.S.C. § 636(b)(1)(C).




the Former Fifth Circuit” are binding precedent absent a contrary en banc Eleventh
Circuit decision. Stein v. Reynolds Sec., Inc., 667 F.2d 33, 34 (11th Cir. 1982); see also
United States v. Schultz, 565 F.3d 1353, 1361 n.4 (11th Cir. 2009) (discussing the
continuing validity of Nettles).
       2 Macort dealt only with the standard of review to be applied to a magistrate’s

factual findings, but the Supreme Court has held that there is no reason for the district
court to apply a different standard to a magistrate’s legal conclusions. Thomas v. Arn,
474 U.S. 140, 150 (1985). Thus, district courts in this circuit have routinely applied a
clear-error standard to both. See Tauber v. Barnhart, 438 F. Supp. 2d 1366, 1373-74
(N.D. Ga. 2006) (collecting cases). This is to be contrasted with the standard of review
on appeal, which distinguishes between the two. See Monroe v. Thigpen, 932 F.2d 1437,
1440 (11th Cir. 1991) (holding that when a magistrate’s findings of fact are adopted by
the district court without objection, they are reviewed on appeal under a plain-error
standard, but questions of law remain subject to de novo review).

                                             2
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        The Court has conducted a careful and complete review of the R&R

and finds no clear error in its factual or legal conclusions. Therefore, the

Court ADOPTS AS ITS ORDER the R&R [849]. Petitioner’s 28 U.S.C.

§ 2255 motion [718] is DISMISSED as untimely. The Court DECLINES to

issue a certificate of appealability. The Clerk is DIRECTED to close this

case.

        IT IS SO ORDERED this 28th day of February, 2014.



                                            _______________________
                                            Timothy C. Batten, Sr.
                                            United States District Judge




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